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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                        ) CASE NO. 17-56755-PWB
                                                 )
   HARRY JAMES FREESE,                           ) CHAPTER 13
                                                 )
            Debtor.                              )
                                                 )

                        NOTICE OF APPEARANCE OF COUNSEL
            PLEASE TAKE NOTICE, that the undersigned hereby appears as counsel for

   Bayview Loan Servicing, LLC, a secured creditor and party in interest, and hereby

   requests that all notices given or required to be given in this case, and all papers served or

   required to be served in this case, be given to and served upon:

            Marc E. Ripps, Esq.
            P.O. Box 923533
            Norcross, Georgia 30010-3533
            (770) 448-5377
            Email: meratl@aol.com
                  th
            This 5 day of June, 2018.

   Prepared By:

   /s/ Marc E. Ripps
   Marc E. Ripps
   Georgia Bar No. 606515

   P.O. Box 923533
   Norcross, Georgia 30010-3533
   (770) 448-5377
   Email: meratl@aol.com
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                                CERTIFICATE OF SERVICE

          This is to certify that I have served the following parties in this matter with a copy
   of the within and foregoing by, unless otherwise noted, depositing a true and correct
   copy in the U.S. Mail with sufficient postage affixed thereto and properly addressed as
   follows:

   Brandi L. Kirkland, Esq.
   Attorney for The Chapter 13 Trustee
   Suite 2200
   191 Peachtree Street, NE
   Atlanta, GA 30303-1740
   Via Email: courtdailysummary@atlch13tt.com

   Howard P. Slomka, Esq.
   Slipakoff & Slomka, PC
   Overlook III - Suite 1700
   2859 Paces Ferry Rd, SE
   Atlanta, GA 30339
   Via Email: se@myatllaw.com

   Harry James Freese
   1270 Keans Ct.
   Roswell, GA 30075
                 th
          This 5 day of June, 2018.

                                                         /s/ Marc E. Ripps
                                                         Marc E. Ripps
                                                         Georgia Bar No. 606515
   P. O. Box 923533
   Norcross, GA 30010-3533
   (770) 448-5377
   Email: meratl@aol.com
